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AO 106A (08/ 18) Application fo r a Warrani by Telephone or   ther Reliable Electronic Means



                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Southern Di strict of California

                 In the Matter of the Search of
                                                                                )
         (Br iefly describe the property to be searched                         )
                                                                                                            '22 MJ1037
          or identify the person by name and addresJ)                                          Case No .
                                                                                )
                     Blue iPhone 12 Pro Max                                     )
                     IMEI: 3593716017 16667                                     )
                        ("Targ et Device")
                                                                                )

    APPLICATION FOR A WARRANT BY TELEPHO E OR OTHER RELIABLE ELECTRO JC MEANS
        I, a federa l law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein by reference.

located in the              Southern              District of        California , there i now concealed (identify the
                                                                 -------------
person or describe the property to be seized) :

See Attachment B, incorporated herein by reference .

          The basis for the search under Fed. R. Crim. P. 41(c) is (checkone or more):
                   -rlf evidence of a crime;
                   0 contraband, fruits of crime, or other items illegally possessed;
                      property designed fo r u e intended for use, or used in committi ng a crime;
                      a person to be arrested or a person who is unlawfully restrained .

          The search is related to a vi olati on of :
             Code Section                                                                  Offense Description

        8, USC sec. 1324                          Ali en Smugg ling


          The application is based on these facts:
        See Attached Affidavit of CBP Enforcement Officer Ad riana Carranza , U.S . Customs and Border Protection,
        incorporated herein by reference.

           sef   Con tinued on the attached sheet.
                 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested under
                 18 U .S.C. § 3103a, the ba i of which i set forth on the attached sheet.


                                                                                         ~                         r,   , ignat,ro

                                                                                    Adriana Carranza, U.S. Customs and Border Protection
                                                                                                           Printed name and title

Attested to by the applicant in accordance with the requirements of Fed . R. Crim. P. 4.1 by
                      tele hone                        (specify reliable electronic means) .


Date:              03/30/2022
                                                                                                             Judge 's signature

City and state: San Diego, California                                                   Hon . MICHAELS . BERG , U.S . Magistrate Judge
                                                                                                           Printed name and title
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 1                                   ATTACHMENT A

 2
                               PROPERTY TO BE SEARCHED
 3

 4 The following property is to be searched:

 5                    Blue iPhone 12 Pro Max
                      IMEI: 35937 160 17 16667
 6
                      ("Target Device" )
 7
  Target Device is currently in the custody of the Department of Homeland Security,
8 Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.

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                                      ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2

 3       Authorization to search the cellular telephone described in Attachment A
   includes the search of disks, memory cards, deleted data, remnant data, slack space, and
 4
   temporary or permanent files contained on or in the cellular telephone for evidence
   described below. The seizure and search of the cellular telephone shall follow the
 5
   search methodology described in the affidavit submitted in support of the warrant.
 6

 7       The evidence to be seized from the cellular telephone will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 8 various third-party applications, photographs, audio files, videos, and location data, for
   the period of February 28, 2022 to March 29, 2022:
 9

10         a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                 States;
11
           b.    tending to identify accounts, facilities, storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers- used to
                 facilitate alien smuggling and transportation of smuggled aliens;
13
           C.    tending to identify co-conspirators, criminal associates, or others involved
14               in alien smuggling, or transportation of smuggled aliens;
           d.    tending to identify travel to or presence at locations involved in the
15               smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
16
           e.    tending to identify the user of, or persons with control over or access to,
17               the Target Device; and/or

18         f.    tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
19               in the activities described above,

20
     which are evidence of violations of Title 8, United States Code, Section 1324.
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                                            AFFIDAVIT
 1

 2              I, Adriana Carranza, being duly sworn, hereby state as fo llows:

 3                                       INTRODUCTION
             1.   I submit this affidavit in support of an application for warrant(s) to search
 4
     the following electronic device(s):
 5
                          Blue iPhone 12 Pro Max
 6
                          IMEI: 359371601716667
 7
                           ("Target Device")
 8
     the ("Target Device"), as further described in Attachment A and to seize evidence of crime,
 9
     specifically, violations of Title 8, United States Code, Section 1324 (Alien Smuggling), as
10 further described in Attachment B.
           2.       The requested warrant(s) relate(s) to the investigation and prosecution of
11
     Sharon Stephanie VALLE for transportation of illegal aliens within the United States. The
12
     Target Device is/are currently in the custody of Department of Homeland Security,
13 Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
           3.       The facts set forth in this affidavit are based upon my personal observations,
14
     my training and experience, and information obtained from various law enforcement
15
     personnel and witnesses, including my review of reports prepared by other law
16 enforcement officers and agents. This affidavit is intended to show that there is sufficient
     probable cause for the requested warrant and does not purport to set forth all of my
17
     knowledge of the investigation into this matter. Dates and times are approximate.
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 1                                   TRAINING AND EXPERIENCE

 2            4.       l have been employed by U.S. Customs and Border Protection since 2003 and
     am currently assigned to the San Ysidro Criminal Enforcement Unit. I graduated from the
 3
     CBP Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia.
 4
     I am a Federal Law Enforcement Officer within the meaning of Rule 41(a)(2)(C), Federal
 5 Rules of Criminal Procedure and have been a Federal Law Enforcement Officer for twenty
     years.        I am authorized by Rule 41(a) Federal Rules of Criminal Procedure to make
 6
     applications for search and seizure warrants and serve arrest warrants. I have experience
 7
     and have received training with respect to conducting investigations of immigration and
 8 criminal violations of Titles 8, 18, 19, and 21 of the United States Code.
              5.       My current duties involve the preparation of criminal and administrative cases
 9
     for prosecution, including the use oflinking related subjects and information via electronic
10
     equipment and telephones. In the course of my duties, I investigate and prepare for
11 prosecution cases against persons involved in the inducement, transportation, and

     harboring of illegal aliens into and within the United States; and, the utilization of illegally-
12
     obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
13 illegally gain entry or remain in the United States.

14            6.       During my tenure as a CBP Officer, I have participated in the investigation of
     a number of cases involving the smuggling of aliens from Mexico into the United States
15
     and transportation of illegal aliens within the United States, which have resulted in the
16 issuance of arrest warrants, search warrants, seizure warrants, and the indictments of

17 persons for alien smuggling, including drivers, passengers, and guides.
              7.       Through the course of my training, investigations, and conversations with
18
     other law enforcement personnel, I have gained a working knowledge of the operational
19 habits of alien smugglers and alien transporters, in particular those who attempt to smuggle

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 1 aliens into the United States from Mexico and transport them throughout the Southern
     District of California. I am aware that it is a common practice for alien smugglers to work
 2
     in concert with other individuals and to do so by utilizing cellular telephones to maintain
 3
     communications with co-conspirators and/or illegal aliens in order to further their criminal
 4   activities. Because they are mobile, the use of cellular telephones permits alien smugglers
     and transporters to easily carry out various tasks related to their smuggling activities,
 5
     including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
 6
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
 7 accomplices about law enforcement activity in the area and the status of check-point
     operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 8
     locations, and/or operate alien stash houses.
 9
           8.     The smuggling of aliens generates many types of evidence, including, but not
10 limited to, cellular phone-related evidence such as voicemai I messages referring to the
     arrangements of travel , names, photographs, text messaging (via SMS or other
11
     applications), and phone numbers of co-conspirators and illegal aliens. For example,
12 drivers and passengers responsible for transporting illegal aliens are typically in telephonic

13 contact with co-conspirators immediately prior to and/or following the crossing of the
     illegal aliens at the border, at which time they receive instructions, including where to pick-
14
     up the illegal aliens for transportation into the United States and where to take the illegal
15 aliens after crossing into the United States. These communications may also include

16 locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
     telephonic contact with co-conspirators prior to and following their crossing in order to
17
     make smuggling arrangements, receive instructions, and report their locations after
18 crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to

19 months in advance of an event to recruit drivers and to coordinate the event. It is also
     common for co-conspirators to continue to contact each other by phone calls, social media,
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                                                     3

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 1 or messaging applications when contact is lost with the driver after an apprehension has
     occ urred.
 2
           9.     Based upon my training, experience, and consultations w ith law enforcement
 3
     offi cers exp erienced in alien smuggling investi gati ons, and all the facts and opinions set
 4   forth in this affidavit, I know that ce llular telephones (including their Subscriber Identity
     Module (SIM) card(s)) can and often do contain electronic evidence, including, for
 5
     example, phone logs and contacts, voice and text communications, and data, such as
 6
     emails, text messages, chats and chat logs fro m various third-party applications,
 7 photographs, audio files, videos, and location data. In particular, in my experience and
     consultation with law enforcement officers experienced in alien smuggling investigations,
 8
     I am aware that individuals engaged in alien smuggling may store photos and videos on
 9
     their cell phones that reflect or show co-conspirators and associates engaged in alien
10 smuggling, as well as images and videos with geo-location data identifying alien smuggling
     transportation routes, and communications to and from recruiters and organizers.
11
            10.   This information can be stored within disks, memory cards, deleted data,
12
     remnant data, slack space, and temporary or permanent fi les contained on or in the cellular
13 telephone. Specifically , searches of cellular telephones may yield evidence:

           a.     tending to indicate efforts to smuggle aliens from M exico into the United
14
                  States;
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           b.     tending to identify accounts, facilities, storage devices, and/or services- such
16                as email addresses, IP addresses, and phone numbers-used to facilitate alien
                  smuggling and transportation of smuggled aliens;
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           C.     tending to identify co-conspirators, criminal associates, or others involved in
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                  a lien smuggling, or transportation of smuggled aliens;
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 1         d.     tending to identify travel to or presence at locations involved in the sm uggling,
                  transportation, or harboring of i I legal aliens, such as stash houses, load houses,
 2
                  or delivery points;
 3
           e.     tending to identify the user of, or persons with control over or access to, the
 4                Target Device(s); and/or
           f.     tending to place in context, identify the cre_a tor or recipient of, or establish the
 5
                  time of creation or receipt of communications, records, or data involved in the
 6
                  activities described above.
 7                         FACTS SUPPORTING PROBABLE CAUSE
           11.    On March 29, 2022, at approximately 04:05 A.M., Sharon Stephanie VALLE
 8
     (Defendant), applied for admission into the United States from Mexico via the San Ysidro,
 9
     California Port of Entry vehicle lanes. Defendant was the driver, registered owner, and sole
10 visible occupant of a 2005 Honda Pilot bearing California license plates. Upon inspection
     before a Customs and Border Protection (CBP) Officer, Defendant presented her United
11
     States Passport, stated she was going to Norwalk, California and said she had nothing to
12
     declare. A CBP Canine Enforcement Officer (CEO) was conducting roving operations
13 when his Narcotic/Human Detector Dog (NHDD) alerted to the undercarriage of the
     vehicle. The CEO utilized a flathead screwdriver to lift the edge of th e cargo cover located
14
     on the rear cargo floor and observed a person concealed inside.              The CBP Officer
15 handcuffed Defendant and requested assistance. Defendant was escorted to the security

16 office and the vehicle was driven to the secondary lot for further inspection.
           12.    In secondary, CBP Officers assisted in removing two individuals form the
17
     vehicle. The indiv iduals were later identified as Guadalupe GUTIERREZ-Lopez (MWl)
18 and Luis SIERRA-Alejo (MW2); both were determined to be citizens of Mexico without

19 documents to enter the United States and were held as Material Witnesses.

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           13.    During a videotaped interview, MWl stated she is a citizen ofMexico without
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     lawfu l documents to enter or reside in the United States. MW l stated her parents m ade the
 2
     smuggling arrangements with an unknown person for a smuggling fee of $22,000 USD.
 3 MWl stated she was going to Los Angeles, California to live w ith her aunts.
           14.    During a v ideo-recorded interv iew, MW2 stated he is a citizen of Mexico
 4
     without lawful documents to enter or reside in the United States. MW2 stated his friend,
 5
     made the smuggling arrangements w ith an unknown person for a smu ggling fee of $18,000
 6 USD. MW2 stated he was going to Santa Barbra, California.

 7         15.    The Target Device was discovered in V ALLE's vehicle and was subsequently
     seized.
 8
           16.    Based upon m y experience and training, consultation with other law
 9
     enforcement officers experienced in alien smuggling investigations, and all the facts and
10 opinions set forth in this affidavit, I believe that telephone numbers, contact names,
     electronic mail (email) addresses, appointm ent dates, messages, pictures and other digital
11
     information are stored in the memory of the Target D evice. In light of the above facts and
12
     m y experience and training, there is probable cause to believe that Defendant was using
13 the Target Device to communicate w ith others to further the smuggling of illegal aliens
     into the United States. Further, in m y training and experien ce, ali en smugglers may be
14
     invo lved in the planning and coordination of transporting and smugg ling events in the days
15
     and weeks prior to an event. Co-con spirators are also often unaware of a defendant's arrest
16 and w ill continue to attempt to communicate with a defendant after their arrest to determine
     the whereabouts of the aliens. Based on m y training and experience, it is also not unusual
17
     for indiv iduals, such as Defendant, to attempt to minimize the amount of time they were
18 involved in their smuggling activities, and for th e indiv iduals to be involved for weeks and

19 months longer than they claim. According ly , I request permission to search the Target
     Dev ice for data beg inning on February 28 , 2022, up to and including March 29, 2022.
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 1                                       METHODOLOGY
            17.   It is not possible to determine, merely by knowing the cellu lar telephone's
 2
     make, model and serial number, the nature and types of services to which the device is
 3
     subscribed and the nature of the data stored on the devices. Cel lular devices today can be
 4   simple cellular telephones, tablets, and text message dev ices, can include cameras, can
     serve as personal digital assistants and have functions such as calendars and full address
 5
     books and can be mini-computers allowing for electronic mail services, web serv ices and
 6
     rudimentary word processing. An increasing number of cel lular service providers now
 7 allow for their subscribers to access their device over the internet and remotely destroy all
     of the data contained on the device. For that reason, the device may only be powered in a
 8
     secure environment or, if possible, started in "flight mode" wh ich disables access to the
 9
     network. Unlike typical computers, many cellular telephones do not have hard drives or
10 hard drive equivalents and store information in volatile memory within the device or in
     memory cards inserted into the device. Current technology provides some solutions for
11
     acquiring some of the data stored in some eel lular telephone models using forensic
12
     hardware and software. Even if some of the stored information on the device may be
13 acquired forensically, not all of the data subject to seizure may be so acquired. For devices
     that are not subject to forensic data acquisition or that have potentially relevant data stored
14
     that is not subject to such acquis ition, the examiner must inspect the device manually and
15
     record the process and the results using digital photography. This process is time and labor
16 intensive and may take weeks or longer.
           18.    Following the issuance of this warrant, a case agent familiar with the
17
     investigation will collect the subject cellular telephone and subject it to analysis. All
18 forensic analysis of the data contained within the telephone and its memory cards will

19         19.    Based on the foregoing, identifying and extracting data subject to seizure
     pursuant to this warrant may require a range of data analysis techniques, including manual
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                                                  7

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 1 review, and, consequently, may take weeks or months. The personnel conducting the
     identification and extraction of data will complete the analysis within ninety (90) days of
 2
     the date the warrant is signed, absent further application to this court.
 3
                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 4        20.     Law enforcement has not previously attempted to download or access the
     contents of the phone.
 5
                                           CONCLUSION
 6
           21.    Based on the facts and information set forth above, there is probable cause to
 7 believe that a search of the Target Device will yield evidence of alien smuggling violation
     of Title 8, United States Code, Sections 1324.
 8
           22.    The Target Device was seized at the time of V ALLE's arrest and has been
 9 securely stored since that time, there is probable cause to believe that such evidence

10 continues to exist on the Target Device. As stated above, I believe that the appropriate date
     range for this search is from February 28, 2022, through March 29, 2022.
11
           23 .   Accordingly, I request that the Court issue warrants authorizing law
12 enforcement to search the item described in Attachment A and seize the items listed in

13 Attachment B using the above-described methodology.

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 1

 2 I swear the foregoing is true and correct to the best of my knowledge and belief.

 3
                                      Adr'ana Carranza, CBP Enforcement Officer
 4

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 6


 7 HO . MICHAEL S. BERG
     United States Magistrate Judge
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